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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                                          t:   3
                                                                                  ZUIBOCT3O P1
                                   AUSTIN DIVISION

UMG RECORDINGS, INC., CAPITOL                    §
RECORDS, LLC, WARNER BROS.                       §
RECORDS INC., SONY MUSIC                         §
ENTERTAINMENT, ARISTA                            §
RECORDS LLC, ARISTA MUSIC,                       §
ATLANTIC RECORDING                               §
CORPORATION, CAPITOL                             §
CHRISTIAN MUSIC GROUP, INC.,                     §
ELEKTRA ENTERTAINMENT GROUP                      §
INC., FONOVISA, INC., FUELED BY                  §
RAMEN LLC, LAFACE RECORDS                        §
LLC, NONESUCH RECORDS INC.,                      §
RHINO RECORDS, INC., ROC-A-                      §
FELLA RECORDS, LLC, TOOTH &                      §
NAIL, LLC, ZOMBA RECORDING LLC,                  §
                  PLAINTIFFS,                    §
                                                 §
V.                                               §     CAUSE NO. A-17-CV-365-LY
                                                 §
GRANDE COMMUNICATIONS                            §
NETWORKS LLC, AND PATRIOT                        §
MEDIA CONSULTING, LLC,                           §
               DEFENDANTS.                       §


                                     TRANSFER ORDER

       Before the court is the above-styled and numbered cause. It appears to the court that the

above-styled and numbered cause should be transferred from the docket of the Honorable Lee

Yeakel, United States District Judge, to the docket of the Honorable David A. Ezra, Senior United

States District Judge, both judges having consented to the transfer.

       IT IS ORDERED that the above-styled and numbered cause is TRANSFERRED to the

docket of the Honorable David A. Ezra, Senior United States District Judge, for all purposes.
     Case 1:17-cv-00365-DAE-AWA Document 212 Filed 10/30/18 Page 2 of 2



Pursuant to the Amended Order Assigning the Business of the Court effective September 18, 2018,

the clerk of court shall credit this case to the percentage of business of the receiving Judge.

       All current settings remain in effect.

       SIGNED this               day of October, 2018.




                                                   TED STA
                                                          KELe   S   DIS RICT JUDGE




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